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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT CINCINNATI

JOSHUA P.,                                : Case No. 1:23-cv-00099
                                          :
       Plaintiff,                         : Magistrate Judge Caroline H. Gentry
                                          : (by full consent of the parties)
vs.                                       :
                                          :
COMMISSIONER OF THE SOCIAL                :
SECURITY ADMINISTRATION,                  :
                                          :
       Defendant.                         :


                               DECISION AND ENTRY


       This Social Security case is presently before the Court on the parties’ Joint Motion

for Remand for Further Proceedings (Doc. No. 11). The parties agree that this Court

should enter a judgment reversing the Commissioner’s decision pursuant to Sentence

Four of 42 U.S.C. § 405(g), with remand of the cause to the Commissioner for further

administrative proceedings. The parties further agree that upon remand, the Appeals

Council will vacate all findings in the Administrative Law Judge's decision. The

Commissioner will develop the administrative record as necessary to determine whether

Plaintiff is disabled within the meaning of the Social Security Act, and then issue a new

decision.

       IT IS THEREFORE ORDERED THAT:

       1.     The parties’ Joint Motion for Remand for Further
              Proceedings (Doc. No. 11) is ACCEPTED;
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   2.    The Clerk of Court is directed to enter Judgment in Plaintiff’s
         favor under Fed. R. Civ. P. 58;

   3.    This matter is REMANDED to the Social Security
         Administration, pursuant to Sentence Four of 42 U.S.C.
         § 405(g), for further consideration consistent with this
         Decision and Entry and the parties’ Motion; and

   4.    The case is terminated on the docket of this Court.

   IT IS SO ORDERED.

                                            s/ Caroline H. Gentry
                                            Caroline H. Gentry
                                            United States Magistrate Judge




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